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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

E.L.H., JR.,

      Plaintiff,                                 Case No. 23-cv-12561
                                                 Hon. Matthew F. Leitman
v.

COMMISSIONER OF
SOCIAL SECURITY,

     Defendant.
____________________________________________________________________/

                                 JUDGMENT

      For the reasons stated in the order issued on this date, it is ORDERED and

ADJUDGED that Plaintiff’s Motion for Summary Judgment is GRANTED IN PART,

Defendant’s Motion for Summary Judgment is DENIED, and this action is

REMANDED to the Commissioner of Social Security for further administrative

proceedings.

                                           KINIKIA ESSIX
                                           CLERK OF COURT

                                    By:    s/Holly A. Ryan
                                           Deputy Clerk
Approved:

s/Matthew F. Leitman
MATTHEW F. LEITMAN
United States District Judge

Dated: February 19, 2025
Detroit, Michigan


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